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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


    In re
                                                   Chapter 15
    POINT INVESTMENTS, LTD.
    (IN LIQUIDATION), 1                            Case No. 22-10261-JKS

             Debtor in a Foreign Proceeding.


          STATUS REPORT REGARDING APPOINTMENT OF FOREIGN
       REPRESENTATIVES AS PERMANENT LIQUIDATORS OF THE DEBTOR

            1.    Andrew Childe and Richard Lewis of FFP Limited, and Mathew Clingerman of

Kroll Bermuda Ltd. (the “Foreign Representatives”), in their capacity as the foreign

representatives of Point Investments, Ltd. (the “Debtor”) in respect of the winding up proceeding

pending before the Supreme Court of Bermuda (the “Bermuda Court”), Commercial Court, Case

2020: No. 300 (the “Bermuda Proceeding”), by and through the undersigned counsel, respectfully

submit this status report pursuant to 11 U.S.C. § 1518, which requires the filing of a notice

concerning any change in status of the Foreign Representatives’ appointment.

            2.    As set forth in the petition that commenced this case [D.I. 1], on February 18, 2022,

the Bermuda Court entered an order (the “Winding Up Order”), which, in relevant part, appointed

the Foreign Representatives as joint provisional liquidators of the Debtor.

            3.    On July 20, 2022, the Foreign Representatives filed an application seeking

appointment as joint permanent liquidators of the Debtor, which the Bermuda Court granted by

order dated August 15, 2022 (the “Liquidator Appointment Order”). The Liquidator Appointment

Order, a copy of which is attached hereto as Exhibit A, empowers the Foreign Representatives to


1
 The Debtor is a Bermuda exempted company registered with the Registrar of Companies in Bermuda
under registration number 43769. The Debtor’s registered office is located at Chancery Hall, 1st Floor, 52
Reid Street, Hamilton HM 12, Bermuda.
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remain in office as liquidators of the Debtor and take the same actions as authorized under the

Winding Up Order for the remainder of the Bermuda Proceeding.


                                                Respectfully submitted,

 Dated: August 26, 2022
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